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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-648 (RBW)
                                     )
ADAM JOHNSON,                        )
                                     )
                  Defendant.         )
____________________________________ )

                                            ORDER

        On February 28, 2022, the Press Coalition filed an Application for Access to Video

Exhibits in this case, requesting access to the video exhibits submitted by the government as part

of the sentencing held on February 25, 2022. See Application for Access to Video Exhibits, ECF

No. 56, ¶ 5. The Press Coalition submits this request pursuant to this court’s Standing Order 21-

28, which was issued by Chief Judge Beryl A. Howell on May 14, 2021, and states in relevant

part:

        Members of the media seeking access to video exhibits submitted to the Court in
        Capitol Cases may file an application, pursuant to D.D.C. LCrR 57.6, to the
        presiding judge in the case . . . [.] Upon grant of such media application, the
        government shall make the video exhibit[s] available to any member of the media
        with necessary access credentials provided by the government, unless the order
        otherwise limits access. Members of the media provid[ing] access to video exhibits
        in a particular case pursuant to such order may view those exhibits using the ‘drop
        box’ technical solution provided by the USAO-DC. No recording, copying,
        downloading, retransmitting or further broadcasting of a video exhibits in a
        particular case is permitted, unless such permission is granted by the presiding
        judge, who may seek the position of the parties[.]

Standing Order 21-28 (May 14, 2021) at 5–6.

        Accordingly, upon consideration of the Press Coalition’s Application for Access to Video

Exhibits, it is hereby

        ORDERED that the Press Coalition’s Application for Access to Video Exhibits, ECF
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No. 56, is GRANTED. It is further

         ORDERED that, within seventy-two hours of this Order, the government shall release

the video exhibits presented at the February 23, 2022 sentencing to the Press Coalition via

electronic drop box as indicated in the Standing Order. It is further

         ORDERED that the government shall provide the Press Coalition’s counsel with the

necessary access credentials referenced in the Standing Order. It is further

         ORDERED that the Press Coalition is permitted to record, copy, download, retransmit,

and otherwise further publish the video exhibits.

         SO ORDERED this 4th day of March, 2022. 1



                                                                           ________________________
                                                                           REGGIE B. WALTON
                                                                           United States District Judge




1
 Although the Court cannot perceive a basis for an objection to this request by the Press Coalition, if either of the
parties does object, they shall advise the Court of this objection within twenty-four hours of the issuance of this
Order.


                                                           2
